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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

GARY BRICE MCBAY                                                                     PLAINTIFF

V.                                                  CIVIL ACTION NO: 1:07cv1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI, ET AL.                                             DEFENDANTS


     PLAINTIFF’S MOTION IN LIMINE TO BAR DEFENDANTS’ ARGUMENTS,
      QUESTIONS AND REFERENCES TO PLAINTIFF’S FACIAL INJURIES,
     BESIDES A BLOODY NOSE, AS BEING CAUSED BY THOMAS RANDAZZO

       The Plaintiff, Gary Brice McBay (“Plaintiff”), by and through his undersigned counsel,

moves this Honorable Court in limine, for an Order barring Defendants’ arguments, questions

and references to Plaintiff’s facial injuries, besides a bloody nose, as being caused by Thomas

Randazzo, and would show unto the Court, the following:

       1.      This matter is an action filed by the Plaintiff against the Defendants for violations

of his civil rights brought under 42 USC § 1983, 42 USC § 1985 and 42 USC § 1988. The crux

of the Plaintiff’s claim is that the Defendants used an unnecessary and excessive amount of force

upon the Plaintiff while the Plaintiff was in the custody of the Defendants in the booking area of

the Harrison County Adult Detention Center (“HCADC”). Moreover, Plaintiff claims that a

custom, practice and policy existed at HCADC which was the moving force behind the civil

rights violations perpetrated upon the Plaintiff.

       2.      The Plaintiff anticipates that Defendant will attempt to introduce at trial,

evidence, questions or arguments regarding Plaintiff’s facial injuries, besides a bloody nose,

being caused by Thomas Randazzo. Plaintiff seeks to preclude any evidence, questions or

references to Plaintiff’s facial injuries, besides a bloody nose, being caused by Thomas

Randazzo inasmuch as there is absolutely no proof that Plaintiff’s facial injuries, besides a
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bloody nose, was caused by Thomas Randazzo.

       3.      In the case at bar, the Plaintiff was arrested at Chopper’s Lounge. In waiting for

the police to arrive, the Plaintiff was struck with one punch by Thomas Randazzo. As to where

Thomas Randazzo struck the Plaintiff, Randazzo testified:

               Q:     Where did you hit him?

               A:     I’m not positive. I know it was somewhere above the neck – or shoulder

                      area. I mean, I may have caught him in the jaw, I may have caught him in

                      the nose, I may have caught him in the top of the head. I don’t really

                      remember.

       See Exhibit “A”, p. 23, Lines 9 – 14.

       4.      Accordingly, Thomas Randazzo does not remember where his one punch landed

on the Plaintiff. Earlier in the deposition, after reviewing the police report, Randazzo guessed

that he may have caused the Plaintiff to have a bloody nose, but could not confirm that guess:

               Q:     Did reading this narrative that you gave one of the investigating police

                      officers, does that refresh your memory of any injuries that Mr. McBay

                      was showing that night?

               A:     I really couldn’t say because I don’t know if I injured him when I put him

                      to the ground either time?

               Q:     I’m not asking what caused it, but your report says that Mr. McBay had a

                      bloody nose?

               A:     Okay. Well, if he did, I mean, that’s the only thing I can say is it

                      happened when I put him on the ground. I’m not positive that I caused

                      injuries.



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                Q:       We’re not asking that, just if he had a bloody nose or not?

                A:       I don’t remember. I really can’t recall.

        Id. at p. 15, Lines 3 – 19.

        5.      Thomas Randazzo has no idea where he hit the Plaintiff with his one punch, and

further, Randazzo cannot remember if he actually caused any injuries to the Plaintiff, besides

possibly a bloody nose which he read about in the police report.

        6.      As for the police report, Defendant’s counsel Mr. Gewin questioned Randazzo

about “Randazzo’s” narrative in the report. However, the report clearly states that the officer

observed a bloody nose. See Exhibit “B”. The report does not state that Randazzo said Plaintiff

had a bloody nose. Id. While the narrative in the police report is hearsay pursuant to Rule 801,

the report neither confirms or denies Randazzo’s observations.

        7.      Plaintiff reasonably anticipates that Defendants will assert at trial that Plaintiff’s

facial injuries were caused by Thomas Randazzo. However, there is absolutely no proof that

Plaintiff’s facial injuries, besides possibly a bloody nose, was caused by Thomas Randazzo.

        8.      The evidence does demonstrate that Defendant Morgan Thompson did cause the

facial injuries to the Plaintiff.

        9.      First, Thompson admitted that “I gave him [McBay] a black eye.” See Exhibit

“C”, p. 44, Line 20. Thompson admitted that he struck Plaintiff multiple times in the face with

closed fist punches. Id. at p. 15, Lines 12-13; p. 54, Lines 23-25. Thompson further admitted to

Regina Rhodes that Thompson drove the Plaintiff’s skull into the shower grate creating an “X”

on Plaintiff’s head. See Exhibit “D”, p. 148, Lines 4-7.

        10.     Second, the use of force report and nurse’s notes show the injuries sustained by

the Plaintiff. The Use of Force report described “facial swelling and nose bleed as injuries



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sustained at Thompson’s hands. See Exhibit “E”. The report also stated that Plaintiff suffered a

cut on the head, and swollen and bruised left eye. Id. The narrative of the report described that

Thompson called medical after Thompson struck Plaintiff because Plaintiff had “bleeding from

the nose and facial swelling.” Id. The nurse’s notes describe the same injuries following the

altercation. Id.

       11.     Defendant has asserted in summary judgment pleadings that Plaintiff’s injuries

were suffered before entering the jail and the black eye could have developed the next morning;

however, the actual evidence directly contradicts this position.

       12.     Defendants will attempt to assert and argue that Plaintiff was injured by Thomas

Randazzo, not the correctional officers at the HCADC. However, there is absolutely nothing to

support such an assertion.

       13.     Evidence, questions, arguments, or references related to Plaintiff’s injuries,

besides a bloody nose, being caused by Thomas Randazzo should be precluded pursuant to Fed.

R. Evid. 403 which provides that although evidence may be considered relevant, it may be

excluded if its probative value is substantially outweighed by the danger of unfair prejudice,

confusion of issues, or misleading the jury, or by considerations of undue delay, waste of time,

or needless presentation of cumulative evidence. There is no probative value in presenting such

evidence and/or arguments, and even if so, then the probative value, if any, is substantially

outweighed by the danger of unfair prejudice.

       14.     The Defendant has admitted to causing the Plaintiff facial injuries. With respect

to Plaintiff’s facial injuries, the issue is not who caused the injuries – clearly Defendant has

admitted to causing the facial injuries. The issue is whether Defendant’s actions were excessive

and unjustified. Defendants’ anticipated attempts to “muddy the water” and argue that Randazzo



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actually caused the Plaintiff’s facial injuries would confuse the issue, mislead the jury, and be

unfairly prejudicial and substantially outweigh any probative value. See Rule 403.

       15.     Plaintiff respectfully moves in limine to bar, restrict/redact all reference,

testimony or argument or evidence regarding Plaintiff’s facial injuries, besides a bloody nose, as

being caused by Thomas Randazzo.

       WHEREFORE, PREMISES CONSIDERED, the Plaintiff respectfully moves this Court

for an Order granting this Motion in Limine and respectfully requests the Court to enter an Order

prohibiting the Defendants from introducing or referencing testimony or presenting arguments or

evidence regarding Plaintiff’s facial injuries, besides a bloody nose, as being caused by Thomas

Randazzo, and any other relief the Court deems necessary. Due to the nature of this Motion,

Plaintiff requests relief from having to file a separate Memorandum in support thereof.

                                             Respectfully Submitted

                                             GARY BRICE MCBAY, Plaintiff

                                             BY:     BROWN BUCHANAN, P.A.


                                             BY:     /s/Patrick R. Buchanan___________
                                                   PATRICK R. BUCHANAN




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                                 CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that I have this day electronically filed a true and

correct copy of the foregoing pleading with the Clerk of Court using the ECF system which sent

notification to such filing to the following counsel of record:

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       This, the 1st day of April, 2010.

                                       /s/Patrick R. Buchanan
                                      PATRICK R. BUCHANAN



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